Case 2:21-mb-09136-ESW Document1 Filed 06/15/21 Page 1 of 10

 

 

UNITED STATES DISTRICT COURT

District of Arizona

In the Matter of the Search of.
SUBJECT PARCEL: One USPS Priority Mail

parcel bearing USPS tracking number 9505 5137 RRA
2377 1161 3658 72, addressed to “Ramy Suhweel, SEARCH WA NT
1705 Woodridge Dr., Clearwater, FL 33756,” with Case Number: 9241-9136 MB

areturn address of “622 W Madero Ave., Mesa, AZ
85210.” It is a brown UPS Store cardboard box;
weighing approximately 11 pounds and 13 ounces;
postmarked June 10, 2021; and bearing $77.35 in
postage.

TO: ANDREW MCCLAMROCK and any Authorized Officer of the United States

Affidavit having been made before me by Affiant, Andrew McClamrock, UNITED STATES POSTAL
INSPECTOR, on the premises known as:

SUBJECT PARCEL: One USPS Priority Mail parcel bearing USPS tracking number 9505 5137 2377 1161
3658 72, addressed to “Ramy Suhweel, 1705 Woodridge Dr., Clearwater, FL 33756,” with a return address of
“622 W Madero Ave., Mesa, AZ 85210.” It is a brown UPS Store cardboard box; weighing approximately 11
pounds and 13 ounces; postmarked June 10, 2021; and bearing $77.35 in postage,

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED STATES
CODE, SECTIONS 841(a)(1), 843(b), and 846, AS EVIDENCE OF SAID VIOLATIONS.

lam satisfied that the Affidavit establishes probable cause to believe that the property so described is now concealed
on the premises above-described and establishes grounds for the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before__ 9/29/2021 (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and receipt for the property taken, and to prepare a written inventory of the property seized and promptly

return this warrant to any United States Magistrate Judge, District of Arizona as required by law.

6/15/2021 @2:45
nm at Phoenix, Arizona

Date and Time Issued City and State

HONORABLE EILEEN S. WILLETT EA) Wt
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signature of Judicial Officer

 

 

 
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UNITED STATES DISTRICT COURT

District of Arizona

In the Matter of the Search of:

SUBJECT PARCEL: One USPS Priority Mail
parcel bearing USPS tracking number 9505 5137 APPLICATION AND AFFIDAVIT

2377 1161 3658 72, addressed to “Ramy Suhweel, FOR SEARCH WARRANT

1705 Woodridge Dr., Clearwater, FL 33756,” with a
return address of “622 W Madero Ave., Mesa, AZ
85210.” It is a brown UPS Store cardboard box;
weighing approximately 11 pounds and 13 ounces;
postmarked June 10, 2021; and bearing $77.35 in
postage.

Case Number: 54_9436 MB

I, ANDREW MCCLAMROCK, being duly sworn, depose and state as follows:
Iam a UNITED STATES POSTAL INSPECTOR and have reason to believe that on the premises known as:

SUBJECT PARCEL: One USPS Priority Mail parcel bearing USPS tracking number 9505 5137 2377 1161
3658 72, addressed to “Ramy Suhweel, 1705 Woodridge Dr., Clearwater, FL 33756,” with a return address of
“622 W Madero Ave., Mesa, AZ 85210.” It is a brown UPS Store cardboard box; weighing approximately 11
pounds and 13 ounces; postmarked June 10, 2021; and bearing $77.35 in postage,

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, which is CONTRABAND, THE FRUITS OF
CRIME, OR THINGS OTHERWISE CRIMINALLY POSSESSED,

in violation of Title 21, United States Code, Sections 841(a)(1), 843(b), and 846. The facts to support the issuance
of a Search Warrant are as follows:

SEE ATTACHED AFFID OF ANDREW MCCLAMROCK, WHICH IS MADE A PART HEREOF.

 

%..
Authorized by AUSA Thomas M. Forsyth II Andrew Digitally signed by Andrew
McClamrock
Sworn to me telephonically, and subscribed McClamrock __ Date: 2021.06.15 13:33:33 -07
electronically Signature of Affiant - ANDREW MCCLAMROCK

6/15/2021 @2:45pm
at Phoenix, Arizona

Date City and State

HONORABLE EILEEN S. WILLETT r) . | Wt
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signature of Judicial Officer

 
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AFFIDAVIT AND STATEMENT OF PROBABLE CAUSE

I, Andrew McClamrock, being duly sworn, hereby depose and state as follows:

1. I am a United States Postal Inspector and have been so employed since
August 2015. I have completed a twelve-week basic training course in Potomac,
Maryland, which included training in the investigation of narcotics trafficking via the
United States Mail. I am currently assigned to the Phoenix Division, specifically to the
Prohibited Mailings Narcotics Team (PMNT) in Arizona, which is responsible for
investigating narcotics violations involving the United States Mail. My responsibilities
include the detection and prevention of the transportation of controlled substances
through the U.S. Mail. Part of my training as a Postal Inspector included narcotics
investigative techniques, chemical field-testing, and training in the identification and
detection of controlled substances being transported in the U.S, Mail.

2. I have assisted on narcotics investigations of individuals for violations of
Title 21, United States Code, Sections 841(a)(1) (Possession with Intent to Distribute a
Controlled Substance), 843(b) (Use of a Communication Facility to Facilitate the
Distribution of a Controlled Substance), and 846 (Conspiracy to Possess with Intent to
Distribute a Controlled Substance). The facts and information contained in this Affidavit
are based on my training and experience, or that of other Postal Inspectors and law
enforcement officers involved in this investigation as described below.

3. This Affidavit is made in support of an application for a search warrant for
one United States Postal Service (USPS) Priority Mail parcel (hereafter, referred to as the

“SUBJECT PARCEL”). Based on a positive alert from a narcotics-detecting canine,

 

 
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your Affiant believes the SUBJECT PARCEL contains controlled substances or
proceeds from the sale of controlled substances.

4. The SUBJECT PARCEL is further described as follows:

a. SUBJECT PARCEL: One USPS Priority Mail parcel bearing

USPS tracking number 9505 5137 2377 1161 3658 72, addressed to “Ramy

Suhweel, 1705 Woodridge Dr., Clearwater, FL 33756,” with a return address of

“622 W Madero Ave., Mesa, AZ 85210.” It is a brown UPS Store cardboard box;

weighing approximately 11 pounds and 13 ounces; postmarked June 10, 2021; and

bearing $77.35 in postage.

BACKGROUND

5. From my training and experience, as well as the training and experience of
other Postal Inspectors on the PMNT, I am aware that the USPS mail system is frequently
used to transport controlled substances and/or proceeds from the sale of controlled
substances to areas throughout the United States. I also know that drug traffickers prefer
mail/delivery services such as Priority Mail Express and Priority Mail because of their
reliability and the ability to track the article’s progress to the intended delivery point.
When a drug trafficker learns that a mailed article has not arrived as scheduled, he/she
becomes suspicious of any delayed attempt to deliver the item.

6. Based on my training and experience regarding Priority Mail Express
operations, I am aware that the Priority Mail Express service was designed primarily to
fit the needs of businesses by providing overnight delivery for time-sensitive materials.

Moreover, based on my training and experience, I am aware that business mailings often:

 
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(a) contain typewritten labels; (b) are addressed to and/or from a business; (c) are
contained within flat cardboard mailers; and (c) weigh less than eight ounces. In
addition, corporate charge accounts were developed by the United States Postal Service
to avoid time-consuming cash payments by businesses for business mailings.

7. Based on my training and experience, I am aware that the Priority Mail
service was created as a less expensive alternative to Priority Mail Express overnight
delivery, but designed to provide quicker, more reliable service than standard First Class
Mail. Whereas a customer mailing an article via Priority Mail Express expects next-day
service, a customer who mails an article via Priority Mail can expect two-to-three-day
delivery service. The USPS also provides a tracking service though a USPS tracking
number, which allows the customer to track the parcel and confirm delivery.

8. Based on my training and experience regarding Priority Mail operations, I
am aware that the majority of Priority Mail mailings are business mailings. Businesses
have found that Priority Mail is a significantly less expensive method of mailing than
Priority Mail Express, particularly when next-day service is not a requirement. I also
know that, similar to Priority Mail Express, Priority Mail business mailings tend to be
smaller, lighter mailings, and on average, weigh less than two pounds. Examples of the
typical types of business mailings conducted via Priority Mail include books, clothing,
pharmaceuticals, and consumer goods purchased from online retailers.

9, From my training, personal experience, and the collective experiences
related to me by other Postal Inspectors on the PMNT who specialize in investigations

relating to the mailing of controlled substances and proceeds from the sale of controlled

 
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substances, I am aware that the State of Arizona is a source location for controlled
substances based on its close proximity to the border between the United States and
Mexico. As such, controlled substances are frequently transported from Arizona via
USPS, and proceeds from the sale of controlled substances are frequently returned to
Arizona via USPS.

10. Based on my training and experience regarding the use of Priority Mail
Express and Priority Mail to transport controlled substances and/or the proceeds from the
sale of controlled substances, I am aware these parcels usually contain some or all of the
following characteristics:

a. The parcel contains a label with handwritten address information and is
addressed from one individual to another individual;

b. The handwritten label on the parcel does not contain a business account
number, thereby indicating that the sender likely paid cash;

c. The parcel is heavier than the typical mailing, often weighing more than
eight ounces for Express Mail, and two pounds for Priority Mail; and

d. The parcel either: (a) was destined for an area known to be a frequent
destination point for controlled substances, having been mailed from an
area known to be a source area for controlled substances; or (b)
originated from an area known to be a frequent origination point for
proceeds from the sale of controlled substances, having been mailed to
an area known to be a destination area for proceeds from the sale of

controlled substances

 
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11. Priority Mail Express and Priority Mail parcels found to meet any or all of
the characteristics described above are often further scrutinized by Postal Inspectors
through address verifications and an examination by a trained narcotics-detecting canine.

RELEVANT FACTS PERTAINING TO THE SUBJECT PARCELS

12. On June 10, 2021, your Affiant was alerted to a suspicious parcel at the
Processing and Distribution Center in Phoenix, Arizona. On the same date, Inspector
Miranda Garcia took possession of the parcel for further investigation.

13. Upon physical examination of the SUBJECT PARCEL, the SUBJECT
PARCEL met some of the characteristics listed in Paragraph 10 above. Specifically, the
SUBJECT PARCEL bore handwritten address label information and weighed over
eleven pounds, which is heavier than the typical Priority Mail parcel. Also, the
SUBJECT PARCEL was mailed to an address in Florida from an address in the State of
Arizona. Based on my training, experience, and the collective experiences related to me
by other Postal Inspectors on the PMNT who specialize in investigations relating to the
mailing of controlled substances and proceeds from the sale of controlled substances, I
am aware that the State of Arizona is frequently a source location for controlled
substances that are mailed to the State of Florida, and that proceeds from the sale of
controlled substances are frequently returned to Arizona from Florida via USPS.

14. Investigators conducted a database query regarding the names and
addresses for the SUBJECT PARCEL in Consolidated Lead Evaluation and Reporting
(CLEAR), a law enforcement database accessible to your Affiant. CLEAR associates

addresses and telephone numbers to individuals and business entities. The CLEAR

 
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database is created from credit reports, law enforcement reports, utility records, and other
public records.

15. Through the CLEAR database query, investigators learned that the delivery
address for the SUBJECT PARCEL is an existing, deliverable address, and a person
with a different spelling of “Rami Suhweil” is associated with the destination address
(1705 Woodridge Dr., Clearwater, FL 33756). The same database query revealed that the
return address for the SUBJECT PARCEL is an existing, deliverable address but no
further query could be conducted as a return address name was not listed.

CANINE EXAMINATION OF THE SUBJECT PARCELS

16. On June 10, 2021, Mesa Detective/Canine Handler and Task Force Officer
Dawn Haynes and her narcotics-detecting canine, “Nicole”reported to the Processing and
Distribution Center, located in Phoenix, Arizona. Detective Haynes advised the
SUBJECT PARCEL was separated and individually inspected by her canine Nicole.
Detective Haynes advised that Nicole gave a positive alert to the SUBJECT PARCEL,
by lying down next to the individual parcel at approximately 4:30 p.m.

17. Detective Haynes explained that when Nicole lays down next to an item as
she did, Nicole is exhibiting a “passive” alert that she has been trained to give. Detective
Haynes stated Nicole’s “passive” alert indicates the presence within the SUBJECT
PARCEL of narcotics or a controlled substance, or currency, notes, documents, or
evidence bearing the presence of the odors of heroin, cocaine, marijuana, and/or

methamphetamine (the four substances Nicole has been trained to detect).

 
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18. Detective Haynes advised she is a Mesa Police Department Detective
currently assigned to the handling and care of Mesa Police Department canine Nicole.
Detective Haynes has been a police officer with Mesa Police for 19 years. Nicole is a
three-year-old Belgian Malinois, who has been working drugs/narcotics detection for the
Mesa Police Department since February 2020. Nicole and Detective Haynes currently
hold a National Certification in drugs/narcotics detection by the National Police Canine
Association (NPCA). Detective Haynes’ certifications also include the completion of a
canine certification course put on at the Alpha canine training facility. Nicole is trained
to detect the odors of cocaine, marijuana, heroin, methamphetamine, and their
derivatives. Detective Haynes advised that since Nicole began working at the Mesa
Police Department, Nicole has had over 100 successful finds (both training finds and
finds that have contributed to active investigations) of controlled substances and/or the
proceeds from the sales of controlled substances.

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CONCLUSION
19. Based on these facts, there is probable cause to believe that the SUBJECT
PARCEL contains controlled substances or proceeds from the sale of controlled
substances, constituting evidence of violations of Title 21, United States Code, Sections
841(a)(1) (Possession with Intent to Distribute a Controlled Substance), 843(b) (Use of a
Communication Facility to Facilitate the Distribution of a Controlled Substance), and 846

(Conspiracy to Distribute a Controlled Substance).

 

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Andrew names"
Date: 2021.06.15 13:34:3
McClamrock Date: 2021.08.15 13:84:90
ANDREW MCCLAMROCK

United States Postal Inspector

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Subscribed electronically and sworn to me telephonically on this day of June,

EU tt,

HONORABLE EILEEN S. WILLETT
United States Magistrate Judge

 
